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  CONSENT TO BJECOME PARTY PLAINTIFF
  ~fF~~~~:~



        By my signature below, I hereby authorize the filing and prosecution of claims in my name
 and on my behalf to contest the failure of DEFENDANT(S), EMPLOYER

                 ~T~fi*, ft~a#m~~ft~~•ft*~$~m£~~*•~
                                             Mayflower
 to pay me overtime vrages andfor minimum wages as required under state andfor federal law
 including thE' Fair Labor Standards Act and also authorize the filing of this consent in the action(s)
 challenging such conduct.




  Yu.lunhua
  PARTY PLAINTIFF                                    ~gna(J;o

  Date
   BM




                                        Page 6 of6                    Initials - - - - - -
